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 1                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2
       - - - - - - - - - - - - - - - x
 3     THE UNITED STATES OF AMERICA,
                                           Criminal Action No.
 4                     Plaintiff,          1:21-cr-00582-CRC-1
                                           Wednesday, September 22, 2021
 5     vs.                                 11:02 a.m.

 6     MICHAEL A. SUSSMANN,

 7                   Defendant.
       - - - - - - - - - - - - - - - x
 8
       ____________________________________________________________
 9
                     TRANSCRIPT OF STATUS CONFERENCE
10            HELD BEFORE THE HONORABLE CHRISTOPHER R. COOPER
                       UNITED STATES DISTRICT JUDGE
11     ____________________________________________________________

12     APPEARANCES:

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21     Court Reporter:                   Lisa A. Moreira, RDR, CRR
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 1                            P R O C E E D I N G S

 2                 THE COURTROOM DEPUTY:     Your Honor, we're on the

 3     record for Criminal Case 21-582, United States of America

 4     vs. Michael A. Sussmann.

 5                 Counsel, please identify yourselves for the

 6     record.

 7                 MR. DeFILIPPIS:    Good morning, Your Honor;

 8     Assistant Special Counsel Andrew DeFilippis and Assistant

 9     Special Counsel Michael Keilty for the United States.

10                 THE COURT:   Good morning, gentlemen.       Pleasure to

11     meet you.

12                 MR. BERKOWITZ:    Good morning, Your Honor; Sean

13     Berkowitz, Michael Bosworth, and Natalie Rao, representing

14     Michael Sussmann, who is also present on Zoom.

15                 THE COURT:   Okay.    Good morning, Mr. Berkowitz.

16     Good to meet you folks as well.       This is our initial

17     appearance.

18                 Mr. Sussmann, I can see you.      Can you see and hear

19     me fine?

20                 THE DEFENDANT:    Yes, Your Honor, I can.      Thank

21     you.

22                 THE COURT:   Okay.    Just a few housekeeping matters

23     at the outset.

24                 Obviously we would normally conduct this

25     proceeding in person, but because of COVID and the fact that
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 1     several counsel are from out of town we are proceeding

 2     remotely by video this morning.       Mr. Sussmann, do we have

 3     your consent to proceed?

 4                 THE DEFENDANT:    Yes, Your Honor.

 5                 THE COURT:   And you've spoken to Mr. Berkowitz

 6     about that?

 7                 THE DEFENDANT:    Yes, Your Honor.

 8                 THE COURT:   Okay.

 9                 The second thing is the Court should note at the

10     outset that I worked as a junior lawyer at the Justice

11     Department for two years in the mid-1990s in the Deputy

12     Attorney General's Office, the two years following law

13     school.   Mr. Sussmann also worked at the building at the

14     same time, I believe in the criminal division.          We did not

15     work together or socialize personally, but I think it's fair

16     to say that we were professional acquaintances.

17                 I don't believe that this creates a conflict, but

18     my regular practice is to disclose those sorts of

19     relationships with lawyers or with parties on the record.

20     And I would advise you that I would be happy to entertain a

21     motion if either side believes that there is a conflict on

22     that basis or any other, but I would ask that you simply do

23     so sooner rather than later so that I don't invest too much

24     time in the case.

25                 All right.   With that, I know that some of you
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 1     practice in other jurisdictions.       The Court does not have a

 2     standing order in criminal cases, but just a few ground

 3     rules.

 4                 First, with respect to contacting the Court, the

 5     parties should communicate to the Court only by motion or

 6     notice, except with respect to, you know, routine scheduling

 7     or logistics or other routine matters like that.          In that

 8     case, the parties should communicate with Ms. Jenkins,

 9     Lauren Jenkins, who is our courtroom deputy.         I will ask her

10     to provide everyone with her email address and other contact

11     information.    She will also provide you with contact

12     information for the law clerk who is assigned to the case,

13     and you should feel free to copy the law clerk on any

14     routine correspondence with the Court.

15                 Other than that, no particular ground rules.        You

16     all are pros, and I'm sure we will get along just fine.

17                 So with that, Mr. DeFilippis, where are we with

18     respect to discovery?      Any wrinkles I should know about?

19     Anything you want to let me know off the bat?

20                 MR. DeFILIPPIS:    No, Your Honor.     We are working

21     expeditiously to prepare discovery in this case.          We have

22     spoken to defense counsel and scheduled a meeting about

23     discovery matters, which will take place tomorrow, and our

24     hope is there that we can try to agree on a schedule for

25     discovery and flag for the defense the nature of the
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 1     discovery, hear from them any requests or particular issues

 2     or concerns they have, and try to make this as cooperative a

 3     process as possible.

 4                 The discovery in this case will be more

 5     voluminous, we think, than in the average case.          It will be

 6     a combination of government records and records obtained

 7     from parties in the private sector by grand jury subpoena

 8     and otherwise, and so we will work very quickly to get

 9     everything that the defense is entitled to as quickly as

10     possible.

11                 There are classification issues with regard to

12     some of the discovery.      We have already made arrangements

13     for both defense counsel to receive security clearances.

14     That is in process, and we hope that that will move along

15     quickly.

16                 So there may be some classified discovery, and

17     there may also be -- we're not certain, but there could be

18     motion practice under the Classified Information Procedures

19     Act.

20                 But all of that's to say we are working as quickly

21     as possible to get a handle on these issues and get

22     everything to the defense that they're entitled to.

23                 THE COURT:    Okay.   Mr. Berkowitz, have you been

24     cleared previously?      Same for Mr. Bosworth and Ms. Rao?

25                 MR. BERKOWITZ:    So I'm the only one who has not
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 1     previously been cleared on our team, Judge.         Mr. DeFilippis

 2     is absolutely correct that Special Counsel Durham and his

 3     team expeditiously have gotten us the paperwork, which we'll

 4     be submitting today, to get that clearance, and so we have

 5     full expectations that we should be able to get the

 6     appropriate clearance in a timely manner.

 7                 THE COURT:   Okay.    So Mr. DeFilippis, is there a

 8     CISO who has been identified to coordinate this process?

 9                 MR. DeFILIPPIS:    There is, Your Honor.      We're

10     dealing with our normal contact.       Whether they will assign

11     someone else or instead take it going forward, we'll apprise

12     the Court and the defense.       But our hope, too, is that as

13     soon as particular levels of clearance are authorized we can

14     start providing materials at that level.         In other words, we

15     won't wait for the process to be completed if we can push

16     things out in the meantime.

17                 But we will advise the Court and the defense of

18     who the point of contact will be.

19                 THE COURT:   Okay.    Mr. Berkowitz, I was going to

20     ask you your position on speedy trial, but given the

21     classification issues and the volume of discovery that the

22     government has described, I take it that that won't be an

23     issue, at least not at this point?

24                 MR. BERKOWITZ:    Yes, with the caveat, Judge, we

25     certainly won't be looking to exercise our rights under the
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 1     speedy trial in the next 75 days, but we do want a trial as

 2     expeditiously as we're able.       Mr. Sussmann is not working

 3     currently, and this obviously -- it takes a toll on

 4     everyone, and I think it's in everyone's interest to get

 5     this done as quickly as we can while obviously availing

 6     ourselves of our rights for pretrial motions and getting

 7     access to the discovery.

 8                 So that's a long answer to a short question.

 9                 THE COURT:   Okay.    I won't hold you to this, but

10     should I expect any nonroutine pretrial motions pending

11     discovery in the case?      Any legal motions?

12                 MR. BERKOWITZ:    So I would expect that one of the

13     issues that we want to speak with the government about is a

14     request for a bill of particulars as to certain allegations

15     in the indictment.     We would typically have 14 days from his

16     arraignment last Friday under Rule 7.        We probably would ask

17     for 14 days from today to file any motion for a bill of

18     particulars.

19                 As to the other types of --

20                 THE COURT:   I think you just cut out,

21     Mr. Berkowitz.

22                 (Zoom feed is lost)

23                 THE COURT:   Mr. Berkowitz, I apologize.       Our feed

24     got cut off about 45 seconds ago.        You had just mentioned

25     that you may need a little more time for your motion for
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 1     bill of particulars.     Unfortunately I need to hit rewind.

 2                 MR. BERKOWITZ:    Okay.    Well, the good news is I

 3     think I remember I didn't say a ton.

 4                 We may have a couple of legal motions -- I don't

 5     know yet -- including on materiality, potentially, and a

 6     motion to strike for surplusage.       Other than those three, we

 7     can't think of any right now.

 8                 We, of course, do believe that there could be

 9     motions on discovery practice.        That will become apparent

10     after we speak with the government and have a sense of

11     whether we have agreement on what Mr. Sussmann is entitled

12     to, including on Brady material where we believe there's,

13     you know, significant exculpatory material and witness

14     statements from grand jury.       But that is something we would

15     come to you with after we've had an opportunity to speak to

16     the government about it.

17                 THE COURT:   Okay.    So have you all talked about

18     proposed dates or time frames to come back?

19                 MR. BERKOWITZ:    We have not, Judge.      I would think

20     that if we could get a date before you in three or four

21     weeks, we would probably at that time have a much better

22     sense of our positions on discovery and have a better sense

23     on all of the issues that I mentioned.

24                 THE COURT:   Mr. DeFilippis, 30 days?

25                 MR. DeFILIPPIS:    Yes, that's fine with the
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 1     government, Your Honor.

 2                 THE COURT:   Okay.    Ms. Jenkins?

 3                 THE COURTROOM DEPUTY:      October 26th at 11:00 a.m.?

 4                 THE COURT:   October 26th at 11:00 a.m., Counsel?

 5                 MR. BERKOWITZ:    I'm taking a quick look.         That

 6     should work.

 7                 MR. DeFILIPPIS:    That's fine for the government,

 8     Your Honor.

 9                 THE COURT:   Okay.

10                 All right.   The Court will continue this matter

11     for a further status conference on October 26th at 11:00

12     a.m.   Hearing no objections from the defense, the Court will

13     exclude the time between now and then from the otherwise

14     applicable speedy trial calculations both in the interest of

15     justice to enable the parties to work through the discovery

16     issues that have been noted in open court as well as due to

17     the recent standing order by the chief judge excluding time

18     between now and October 31st from the speedy trial

19     calculations due to the limitations on courtrooms and other

20     court facilities for trials as a result of the ongoing

21     pandemic.

22                 Anything else, Counsel?

23                 MR. DeFILIPPIS:    No --

24                 MR. BERKOWITZ:    I'm sorry, Mr. DeFilippis.        Go

25     ahead.
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 1                 MR. DeFILIPPIS:     No, nothing from the government.

 2                 MR. BERKOWITZ:     And just briefly, Judge, could we

 3     confirm that we have 14 days from today to file any bill of

 4     particulars motion?

 5                 THE COURT:    So ordered.

 6                 MR. BERKOWITZ:     Thank you.    And one other item, a

 7     housekeeping item to note.

 8                 We were before Judge Faruqui on Friday, and he set

 9     conditions of bond.      There were two inadvertent errors in

10     the bond that was formally entered:         the amount and to whom

11     Mr. Sussmann will surrender his passport.

12                 We've been in touch with the government on that

13     issue, and we've been in touch with Judge Faruqui's clerk,

14     and we believe that will get corrected, but we just wanted

15     to alert you to that fact, Judge.

16                 THE COURT:    Very well.    If there's anything that

17     you need me to do, just let me know.

18                 MR. BERKOWITZ:     Of course.

19                 THE COURT:    All right.    Finally, I'm required

20     under the Due Process Protection Act, which was passed last

21     year, to advise the government to review and comply with its

22     Brady disclosure obligations.       The failure to comply could

23     result in dismissal of the indictment or individual charges,

24     exclusion of evidence, and any other remedy that is just

25     under the circumstances.
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 1                  All right.   If there's nothing else, we will see

 2     you back here in October.

 3                  MR. DeFILIPPIS:    Thank you, Your Honor.

 4                  MR. BERKOWITZ:    Thank you.

 5                  THE COURT:   All right.    Have a good day.

 6                      (Whereupon the hearing was

 7                       concluded at 11:15 a.m.)

 8

 9                   CERTIFICATE OF OFFICIAL COURT REPORTER

10

11                      I, LISA A. MOREIRA, RDR, CRR, do hereby

12     certify that the above and foregoing constitutes a true and

13     accurate transcript of my stenographic notes and is a full,

14     true and complete transcript of the proceedings to the best

15     of my ability.

16          NOTE:   This hearing was held during the COVID-19

17     pandemic stay-at-home restrictions and is subject to the

18     technological limitations of court reporting remotely.

19                      Dated this 22nd day of September, 2021.

20

21
                                         /s/Lisa A. Moreira, RDR, CRR
22                                       Official Court Reporter
                                         United States Courthouse
23                                       Room 6718
                                         333 Constitution Avenue, NW
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